     1   PAUL J. MANSDORF, TRUSTEE
         1569 Solano Ave. #703
     2   Berkeley, CA 94707
         Telephone:    (510) 526-5993
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     8                               UNITED STATES BANKRUPTCY COURT

     9                               NORTHERN DISTRICT OF CALIFORNIA

    10                                           OAKLAND DIVISION
    11
         In re:                                           Case No. 13-43051 CN 7
    12
         SHAWN IMAN GHADAMI,                              Chapter 7
    13
                                   Debtor.                TRUSTEE’S APPLICATION FOR
    14                                                    EMPLOYMENT OF SPECIAL COUNSEL
                                                          ON A CONTINGENCY FEE BASIS (Michael
    15                                                    Cosentino, Esq.)
                                                          [11 U.S.C. §§ 327(e) and 328(a)]
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                                                          [No Hearing Requested Unless Objection
    17                                                    Filed]
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         TO:        THE HONORABLE CHARLES NOVACK, UNITED STATES BANKRUPTCY JUDGE:
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                    The application of Paul J. Mansdorf, Trustee (“Applicant”) respectfully represents:
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                    1.     The Debtor filed a voluntary chapter 7 petition on May 24, 2013, and Applicant was
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         appointed Trustee.
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                    2.     On January 24, 2014, Applicant obtained a judgment against Sohelia Vahedy, the
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         Debtor’s mother, in the amount of $10,000 plus interest thereon from June 26, 2013, in the
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         adversary proceeding entitled Mansdorf v. Vahedy, A.P. No. 13-04168. On February 6, 2014,
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         Applicant caused to be filed a Notice of Judgment Lien with the California Secretary of State. The
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         Judgment is final.
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                    3.     Applicant has concluded that the most effective way to attempt to monetize the
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         1871.111                                           1                              TRUSTEE’S APPLICATION
                                                                               FOR EMPLOYMENT OF SPECIAL COUNSEL

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     1   Judgment is to employ counsel that specializes in collections. Applicant does not have the
     2   wherewithal to employ counsel on an hourly rate basis to pursue and collect the Judgment. His
     3   general counsel, shierkatz RLLP, is not in a position to pursue the judgment on a contingency fee
     4   basis. Michael Cosentino, Esq., P.O. Box 129, Alameda, CA 94501, telephone (510) 523-4702,
     5   Fax (510) 747-1640, is willing to pursue the Judgment on behalf of the bankruptcy estate on a
     6   contingency fee basis and is willing to advance costs to be reimbursed from any economic
     7   recovery. Under the terms of the Agreement, a copy of which is attached as Exhibit “A” to the
     8   Declaration of Michael Cosentino filed concurrently herewith, Mr. Cosentino will be paid a
     9   contingency fee of 45% of any and all mounts recovered, plus actual out-of-pocket expenses. In
    10   the event there is no recovery, the bankruptcy estate will not be liable for any fees or costs to Mr.
    11   Cosentino. Applicant has provided Mr. Cosentino with the Judgment and the Notice of Judgment
    12   Lien.
    13              4.    Applicant is seeking to employ Mr. Cosentino on a contingency fee basis under 11
    14   U.S.C. § 328(a). Bankruptcy Code section 328 allows a trustee, with Court approval, to employ
    15   special counsel on a contingency fee basis on reasonable terms and conditions. Based on the
    16   declaration of Michael Cosentino, Applicant believes that Mr. Cosentino holds no interest adverse
    17   to the bankruptcy estate and is a disinterested person.
    18              5.    Applicant understands that pursuing collection of the Judgment can be expensive
    19   and that fees and costs in such an arrangement can be substantial. Under the provisions of the
    20   Agreement, Mr. Cosentino has agreed to advance all costs related to the collection efforts.
    21   Applicant is serving notice of this Application on all creditors, the United States Trustee, and the
    22   Debtor.
    23              WHEREFORE, Applicant prays that he be authorized to employ Michael Cosentino as
    24   special counsel and enter into the Agreement, and that he have such further and other order as the
    25   Court deems appropriate.
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    27   Dated: October 9, 2018                        ______/s/ Paul J. Mansdorf_____
                                                           Paul J. Mansdorf, Trustee
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         1871.111                                         2                               TRUSTEE’S APPLICATION
                                                                              FOR EMPLOYMENT OF SPECIAL COUNSEL

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